Case 4:25-cr-00036-JKW-LRL            Document 2        Filed 04/30/25       Page 1 of 12 PageID# 2




       AFFIDAVIT IN SUPPORT OF APPLICATION FOR CRIMINAL COMPLAINT



                                          INTRODUCTION


  I, Desirae Maldonado, being duly sworn, hereby depose and state:

           1.    I am a Special Agent with the United States Department of Justice, Federal Bureau

  of Investigation (FBI). I have been employed by the FBI as a Special Agent since January 2019.

  As such, I am an “investigative or law enforcement officer” of the United States within the meaning

  of 18 U.S.C. § 2510(7), that is, I am an officer of the United States, who is empowered by law to

  conduct investigations regarding violations of United States law, to execute warrants issued under

  the authority of the United States, and to make arrests of the offenses enumerated in 18 U.S.C.

  §§ 2251 et. seq. In the course of my duties, I am responsible for investigating crimes which include.

  but are not limited to, child exploitation and child pornography. I have previously been involved

  in criminal investigations concerning violations of federal laws. Since joining the FBI, I have

  received specialized training in human trafficking investigations, identifying and seizing electronic

  evidence, computer forensics, recovery, and social media investigations.

           2.    This affidavit supports an application for a criminal complaint charging YAHMIR

  DESHAWN KAWANTE HAMLET with the receipt of child pornography, in violation of Title

  18, United States Code, Section 2252A(a)(2).

           3.    The information set forth in this affidavit is known to me as a result of an


  investigation personally conducted by me and other law enforcement agents. Thus, the statements

  in this affidavit are based in part on information provided to Special Agents (“SAs”) and other

  employees of the FBI, as well as other investigators employed by federal or state governments. I

                                                    1
Case 4:25-cr-00036-JKW-LRL             Document 2        Filed 04/30/25        Page 2 of 12 PageID# 3




  have participated in investigations involving persons who collect and distribute child pornography,

  and the importation and distribution of materials relating to the sexual exploitation of children. I

  have received training in the areas of child exploitation, and 1 have reviewed images and videos of

  child pornography in a wide variety of media forms, including computer media. 1 have also

  discussed and reviewed these materials with other law enforcement officers.


           4.    In the course of my employment as a sworn law enforcement officer, I have

  participated in the execution of numerous search warrants resulting in the seizure of computers.

  magnetic storage media for computers, other electronic media, and other items evidencing

  violations of state and federal laws, including various sections of Title 18, United States Code,

  Section 2251 et. seq. involving child exploitation offenses.

           5.    This affidavit is based upon information that I have gained from my investigation,

  my training and experience, as well as information gained from conversations with other law

  enforcement officers. Since this affidavit is being submitted for the limited purpose of securing a

  criminal complaint, 1 have not included each and every fact known to me concerning this

  investigation. 1 have set forth only the facts that I believe are necessary to establish probable cause

  to believe that YAHMIR DESHA WN KAWANTE HAMLET, has committed a violation of Title

  18, United States Code, Section 2252A(a)(2).

                                     STATUTORY AUTHORITY


            6.    This investigation concerns alleged violations of Title 18, United States Code,

  Section 2252A(a)(2) relating to the receipt of child pornography.

            7.   Title 18, United States Code, Section 2252A(a)(2) makes it a federal criminal

  offense to knowingly receive or distribute any child pornography or materials that contains child


                                                     2
Case 4:25-cr-00036-JKW-LRL              Document 2       Filed 04/30/25        Page 3 of 12 PageID# 4




  pornography that has been mailed, or using any means or facility of interstate or foreign commerce

  shipped or transported in or affecting interstate or foreign commerce by any means, including by

  computer.

                                              DEFINITIONS


           8.     The terms “minor” and “sexually explicit conduct” are defined in 18 U.S.C

  §§ 2256(1) and (2). The term “minor” is defined as “any person under the age of eighteen years.

  The term “sexually explicit conduct” means actual or simulated:

                     a.   Sexual intercourse, including genital-genital, oral-genital, anal-genital, or

                          oral-anal, whether between persons of the same or opposite sex;

                     b.   Bestiality;

                     c.   Masturbation;

                     d.   Sadistic or masochistic abuse; or

                     e.   Lascivious exhibition of the anus, genitals or pubic area of any person.

           9.     The term “computer,” as used herein, is defined pursuant to 18U.S.C.§ 1030(e)(1),

  as “an electronic, magnetic, optical, electrochemical, or other high speed data processing device

  performing logical or storage functions, and includes any data storage facility or communications

  facility directly related to or operating in conjunction with such device.

                                  FACTS AND CIRCUMSTANCES


            10.   Between March 2020 and February 2021, FBI Norfolk received multiple CyberTips

  from the Bedford County Sheriffs Office (BCSO). Twitter, Inc. filed numerous complaints with

  the National Center for Missing and Exploited Children (NCMEC) for accounts advertising and

  selling video files of child pornography.


                                                    3
Case 4:25-cr-00036-JKW-LRL                   Document 2        Filed 04/30/25     Page 4 of 12 PageID# 5




           11.
                  On or about November 23, 2020, CyberTip 83069863 was received by NCMEC

  from Twitter, Inc. Twitter, Inc. reported suspect information: telephone number +17573583920,

  Email address: lmildresser@gmail.com, Screen Name: cumsluts77, uploaded one video file,

  which was classified as apparent child pornography. Additional information provided in the

  CyberTip was: “Full Name: CUMSLUTS, KIFC: @ihaveteens3, Description: Selling teen links,

  $65 for 80 links, $45 for 50 links, $30 for 30 links. Only accept cashapp. Don’t waste my time

  with questions.” The video fie is described below:

                       a.    Video file: snH9qHTlT61 YM5l8.mp4 - 00:00:31 in length is described as

                             follows: a pre-pubescent female bent over in a bedroom in front of a camera.

                             The pre-pubescent female pulls her underwear to the side and digitally

                             masturbates herself. The video appears to be self-produced.

           12.    The file was reviewed by the electronic service provider (ESP). Your affiant

  reviewed the video file and confirmed it depicted child pornography. In addition to the video file

  there was a zip file titled: cumsluts77-1236294121683333121-2020 -l l-XX-XXXXXXX.zip.zip in the

  CyberTip. The ESP did not provide whether they did or did not review the zip file. The registration

  IP address associated with this Twitter, Inc. account is 99.203.53.219 on March 7, 2020, at

  14:15:03 UTC.


           13.    On or about February 23, 2021, Google LLC responded to a 2703(d) Order served

  to   Google    LLC        for   multiple    Google   email    addresses,   to   include   email   address:

  lmildresser@gmail.com. Google responded with the following subscriber information:

                       a. Name: babypercs RELOADED
                       b.    Created on: 2020-03-25 02:37:30 UTC
                       c.    Terms of Service IP: 2600:8805:500:bd3:b9b8:2afe:68a9:862d
                       d. Birthday: March 6, 1999

                                                        4
Case 4:25-cr-00036-JKW-LRL                    Document 2                Filed 04/30/25       Page 5 of 12 PageID# 6




                        e.    Recovery SMS:+17578691791
                        f.    User Phone Numbers: +17578691791,+17575412855

            14.   On or about February 23, 2021, Google LLC responded to a search warrant issued

  in the Eastern District of Virginia on February 19, 2021, for multiple email addresses, to include

  email address: lmildresser@gmail.com. The same subscriber information listed in response to the

  Google 2703(d) Order mentioned in the previous paragraph was received in the search warrant

  results. A review of the emails contained in the search warrant results revealed multiple emails


  addressed to YAHMIR HAMLET.


            15.   On         or    about      March          2,       2021,   multiple   identifiers,   to   include

  lmildresser@gmail.com, were requested from MEGA for any MEGA accounts associated with

  said   identifiers.        MEGA        provided      the        following    information    for   email    address:

  lmildresser@gmail.com:

                        a.    Name: Nin9k MEGA
                        b. Status: Suspended
                        c. Creation Timestamp: 1588360590
                                i. According to an epoch converter, the timestamp converts to May 1,
                                         2020 3:16:30PM GMT-04:00 DST
                        d.    Last Active Timestamp: 1602082343
                                  i. According to an epoch converter, the timestamp converts to October
                                     7, 2020 10:52:23 AM GMT -04:00 DST
                        e.    Active Public Links: 5
                        f.    Storage:
                                    i. Bytes: 18099460258
                                   ii.   Files: 3778
                                  iii.   Folders: 54


            16.   On or about May 17, 2022, CyberTip 125182860 was received by NCMEC from

  MediaLab/Kik. In CyberTip 125182860, MediaLab/Kik reported the suspect as: email:

  cdcddvdcc@apl.com, Screen/User Name: ihaveteens3_zwf. MediaLab/Kik reported the suspect

  uploaded video file: 962bl 849-53b6-4207-b38e-c80c242a08aa.mp4 on April 14, 2022, at

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Case 4:25-cr-00036-JKW-LRL             Document 2        Filed 04/30/25    Page 6 of 12 PageID# 7




  18:01:25 UTC. The file was uploaded from IP address 70.174.117.73. MediaLab/Kik provided the

  following subscriber information for Screen/User Name: ihaveteens3_zwf:

                     a.   First Name: do
                     b.   Last Name: NOT message me if not buying.
                     c.   Email: cdcddvdcc@apl.com
                     d.   Username: ihaveteens3
                     e.   Registration: 10/30/2019 04:12:42
                     f.   IP Address 70.174.117.73 logins:
                              i.   4/17/2022 10:38:35 UTC
                             ii.   4/17/2022 22:49:08 UTC
                            iii.   4/18/2022 04:31:00 UTC
                             iv.   4/24/2022 15:00:05 UTC - 15:32:48 UTC
                             V.    4/26/2022 00:23:56 UTC - 11:02:44 UTC
                            vi.    5/10/2022 05:44:23 UTC
                            vii.   5/11/2022 05:50:58 UTC
                           viii.   5/13/2022 05:19:57 UTC - 21:18:12 UTC


            17.   Your affiant reviewed the video file and determined      the video file depicts a

  pubescent female performing oral sex on an adult male. The pubescent female appears to be crying

  in the video. It is unclear if the pubescent female is a minor.

            18.   On or about July 29,2023, Verizon responded to an administrative subpoena served

  on July 11, 2023, for IP address: 70.174.117.73. The following subscriber information was

  provided: Name: Enjoli Haggar; Address: 741 30‘*^ Street, Newport News, Virginia 23607; Home
  Phone: 757-951-7708.


            19.   On or about July 24, 2023, a 13-year-old minor female, Jane Doe 1, traveled to the

  FBI Washington, Northern Virginia Resident Agency and reported she was a victim of sextortion.

  Jane Doe 1 reported she communicated with “SCHUTZ” on Discord, Telegram, and Snapchat

  between April 2023 and July 2023. On July 27, 2023, Jane Doe 1 was forensically interviewed by

  an FBI Child/Adolescent Forensic Interviewer (CAFI) at the FBI Washington, Northern Virginia



                                                     6
Case 4:25-cr-00036-JKW-LRL           Document 2        Filed 04/30/25       Page 7 of 12 PageID# 8




  Resident Agency office. Jane Doe 1 made several disclosures, to include reporting “SCHUTZ’s'

  Snapchat account as “ripmercury with 3 Rs”.

           20.   On or about August 17, 2023, the FBI Washington, Northern Virginia Resident

  Agency reviewed a screenshot from Jane Doe I’s cell phone via consent that appeared to be from

  Snapchat. The screenshot appeared to display a list of usernames, to include “ripmerrrcury”, which

  was described during Jane Doe 1 ’s forensic interview on July 27, 2023.

           21.   In or around August 2023, the FBI Washington, Northern Virginia Resident

  Agency queried FBI databases and revealed an associated FBI case in Boston, Massachusetts. On

  September 30, 2019, the grandmother of a 16-year-old female, Jane Doe 2, reported to

  Massachusetts State Police (MSP) a man requested nude photos of her granddaughter on the Kik

  application. On or about October 2,2019, Jane Doe 2 was interviewed. On or around August 2023,

  the FBI Washington, Northern Virginia Resident Agency reviewed the recorded interview. Jane

  Doe 2 stated Snapchat user “ripmercury”, who identified himself as “Schutz”, threatened to send

  nude photos he obtained of Jane Doe 2 to her friends and family unless she sent him more nude

  photos of herself

           22.   On or about October 2, 2019, MSP investigators reviewed Jane Doe 2’s cell phone

  via consent and identified Snapchat communications between Jane Doe 2 and Snapchat usernames

   ripmercury” and “crawlyniqq”. The review also identified Skype communications between Jane

  Doe 2 and an unknown Skype account. The unknown Skype account informed Jane Doe 2 their

  Snapchat username was “ripmercury”.

           23.   On or about October 17, 2019, a search warrant was issued by the Northern

  Berkshire Division of the District Court of Massachusetts for the Snapchat account associated with



                                                  7
Case 4:25-cr-00036-JKW-LRL           Document 2         Filed 04/30/25     Page 8 of 12 PageID# 9




  username “ripmercury”. According to Snapchat records obtained on November 18, 2019, by the

  MSP,     Snapchat     username     “ripmercury”       was   associated   with    email    address

  smhtbhfamalam@gmai 1 .com.

           24.   On or about October 17, 2019, a search warrant was issued by the Northern

  Berkshire Division of the District Court of Massachusetts for the Snapchat account associated with


  username “crawlyniqq”. According to Snapchat records obtained on November 18,2019, by MSP,

  Snapchat username “crawlyniqq” was associated with email address arcana377@gmail.com and

  had a creation IP address of 24.254.241.60.


           25.   On or about October 17, 2019, a search warrant was issued by the Northern

  Berkshire Division of the District Court of Massachusetts for the Skype account associated with


  Jane Doe 2. According to Skype records obtained on November 6, 2019, by an MSP investigator,

  communications were discovered between Jane Doe 2 and        Skype username “smhtbfamalam2”.

  These communications contained the same messages that were discovered during the review of

  Jane Doe 2’s phone by MSP investigators on October 2, 2019. According to Skype records, on or

  around September 24,2019, Jane Doe 2 asks Skype user “smhtbfamalam2” for his email, to which

  he responds, “arcana377@gmail.com”. Jane Doe 2 also asks for his “Snap”, to which Skype user

   smhtbfamalam2” responds, “ripmercury”.

           26.   On or about December 12, 2019, a search warrant was issued by the Northern

  Berkshire Division of the District Court of Massachusetts for the Google account associated with


  email address arcana377@gmail.com. According to Google records obtained on December 17,

  2019, by an MSP investigator, the Google account with email address arcana377@gmail.com used




                                                    8
Case 4:25-cr-00036-JKW-LRL           Document 2        Filed 04/30/25      Page 9 of 12 PageID# 10




   IP address 108.39.123.22. A search of open-source records indicated this IP address was associated

   with a Newport News, Virginia address.

            27.   On or about January 9, 2020, Cox Communication responded to a subpoena issued

   by MSP for IP address: 24.254.241.60, which was the creation IP address for Snapchat username

   'crawlyniqq”. Subpoena results revealed the subscriber of IP address 24.254.241.60 as Name:

   Enjoli Haggar, Address: 741 30^'^ Street, Newport News, Virginia.

            28.   On or about August 8, 2023, an FBI Analyst served an administrative subpoena to

   PayPal requesting subscriber information associated with email address arcana377@gmail.com.

   According to subpoena return records, the PayPal account associated with email address

   arcana377@gmail.com had a listed name of YAHMIR HAMLET and address of 741 30th Street,

   Newport News, Virginia.

            29.   A search of CLEAR information database on September 7, 2023 (a public records

   database that provides names, dates of birth, addresses, associates, telephone numbers, email

   addresses, etc.), HAMLET was associated with an address of 741 30th Street, Newport News,

   Virginia, the same address associated with the subscriber of IP Address 24.254.241.60. HAMLET

   was also associated with an address of 30 Kings Way, Suite 104, Hampton, Virginia.

            30.   On or about April 19, 2023, an FBI Special Agent served an administrative

   subpoena to ProActive Real Estate. According to subpoena return records, HAMLET was listed

   as a tenant of 30 Kings Way, Apartment 104, Hampton, Virginia, beginning on August 1, 2022,

   and ending on July 31, 2023. The records listed email address: lmildresser@gmail.com and

   telephone number: 757-782-7772 for HAMLET.

          31.     According to a law enforcement database, HAMLET was also associated with an


                                                   9
Case 4:25-cr-00036-JKW-LRL           Document 2          Filed 04/30/25       Page 10 of 12 PageID# 11




   address of the 344 Michigan Drive, Hampton, Virginia. The address is part of an apartment

   complex known as Asbury Place Townhome Apartments.

           32.    On August 7,2023, and November 15,2023, an FBI Agent served an administrative

   subpoena to Asbury Place Townhome Apartments. According to subpoena return records,

   HAMLET was listed as the resident of 344 Michigan Drive, Hampton, Virginia. The records listed

   the following information: Yahmir Hamlet; DOB: 4/3/2001; Email: lmildresser@gmail.com;

   previous address: 30 Kings Way, #104, Hampton, Virginia; Phone: 757-782-7772; Employer:

   Food Lion, 3855 Kecoughtan Road, Hampton, Virginia.

           33.    On December 6, 2023, a search warrant, issued in the United States District Court

   for the Eastern District of Virginia on December 5, 2023, was executed at 344 Michigan Drive,

   Hampton, Virginia. Approximately seven (7) items of evidence were recovered and seized.                 Q{^
                                  fvio                            fOit gmh
                  A feview of the seized electronic devices revealed multiple images and videos of          ''

   child   pornography.   One of the      files   located   on   an   Apple   iPhone   11,   Apple   ID:

   ppanorama@icloud.com; MSISDN: +17579554096; MSISDN: +17577827772, is described as

   follows:


                     a.   File    name:       telegram-cloud-photo-size-1-5123357412865190554-y;

                          received: 11/3/2022 5:30:15 AM(UTC+0); Description: The image depicts

                          a screenshot of multiple thumbnail images containing sexually exploited

                          infants and toddlers. The majority of the thumbnails appear to be thumbnail

                          images for videos. The screenshot has the words “rapE stars” at the top of

                          the image. One of the thumbnails in the screenshot image depicts an infant

                          lying on a bed with an adult penis covering its’ face. The thumbnail image


                                                    10
Case 4:25-cr-00036-JKW-LRL              Document 2         Filed 04/30/25    Page 11 of 12 PageID# 12




                           has the numbers “0:14” at the bottom of the photo, indicating it is most

                           likely a video 14 seconds in length.

            35.    The review of the seized electronic devices also revealed multiple email addresses


   linked    on   the   devices,   to   include   emails     addresses:   lmildresser@gmail.com   and

   arcana337@gmail.com. The devices also included multiple chats, to include Telegram chats,

   MEGA links, Dropbox links, and CashApp transactions.
Case 4:25-cr-00036-JKW-LRL           Document 2         Filed 04/30/25     Page 12 of 12 PageID# 13




                                           CONCLUSION



          36.     Based upon the facts set forth above, I submit that probable cause exists to believe

   YAHMIR DESHAWN KAWANTE HAMLET, has violated Title 18, United States Code, Section

   2252A(a)(2).   Title 18, United States Code, Section 2252A(a)(2) makes it a federal criminal

   offense to knowingly receive or distribute any child pornography or materials that contains child

   pornography that has been mailed, or using any means or facility of interstate or foreign commerce

   shipped or transported in or affecting interstate or foreign commerce by any means, including by

   computer.

   FURTHER YOUR AFFIANT SAYETH NOT.




                                                Desirae E. Maldonado
                                                Special Agent
                                                FBI Child Exploitation Task Force
                                                Federal Bureau of Investigation


   This affidavit has been reviewed for legal sufficiency by Assistant United States Attorney Peter
   G. Osyf.

   Reviewed:
                   Peter G. Osy
                   Assistant United States Attorney


   Subscribed and sworn to before me this 30th day of April 2025, in the City of Norfolk, Virginia.




                                                The Honorable Douglas E. Miller
                                                UNITED STATES MAGISTRATE JUDGE



                                                   12
